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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


NICKI JO HARLAN,                                 §
              Plaintiff,                         §
                                                 §
vs.                                              §
                                                 §               SA-21-CV-00788-JKP
AMERIGAS PROPANE, LP,                            §
AMERIGAS, INC., AMERIGAS USA                     §
LLP, AMERIGAS PROPANE, INC.,                     §
                                                 §
                  Defendants.                    §

                                               ORDER

       Before the Court is the above-styled cause of action, which was referred to the

undersigned for all non-dispositive pretrial proceedings on September 28, 2021 [#5]. The Court

held an Initial Pretrial Conference on November 10, 2021, at which all parties were present as

represented by counsel.     At the Initial Pretrial Conference, the parties indicated that an

unaffiliated party had been improperly joined as a defendant. Plaintiff orally moved for leave to

file an amended complaint. On the record, Defendant indicated it does not oppose granting

Plaintiff leave to file an amended pleading.

       IT IS THEREFORE ORDERED that Plaintiff file an Amended Complaint on or before

November 24, 2021.

       IT IS FURTHER ORDERED that Defendant file a responsive pleading to the Amended

Complaint on or before December 8, 2021.

       SIGNED this 12th day of November, 2021.




                                                ELIZABETH S. ("BETSY") CHESTNEY
                                                UNITED STATES MAGISTRATE JUDGE

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